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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                   Plaintiff,
                                            Case No. 15-20283
 vs.                                        HON. GEORGE CARAM STEEH

 SVETLANA SRIBNA, et al.,

               Defendants.
 _____________________________/

             ORDER DENYING DEFENDANT’S MOTION FOR
              DISCLOSURE OF INFORMANTS’ IDENTITIES
              AND DETAILS OF AGREEMENTS (DOC. 150)

       This matter is presently before the Court on defendant Svetlana

 Sribna’s Motion for Disclosure of Informants’ Identities and Details of

 Agreement. (Doc. 150). The Motion is joined by defendants Jennifer

 Franklin, Rodney Knight, Tara Jackson, Sashanti Morris, Anna Fradlis,

 Maryna Pitsenko, and Marina Jacobs. Sribna requests that the Court order

 the Government, pursuant to its duty to disclose evidence potentially

 favorable to a criminal defendant, to produce a variety of information that

 Sribna seeks in order to determine (1) the details of any agreements

 between the Government and any of its witnesses, and (2) the names of

 such witnesses.


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       The Government responds that Sribna’s request is over broad. The

 Government further asserts that it is aware of and intends to comply with its

 obligations under Brady v. Maryland, 373 U.S. 83 (1963) (requiring

 disclosure of evidence favorable to the defendant that tends to negate or

 reduce his level of guilt) and Giglio v. United States, 405 U.S. 150 (1972)

 (requiring disclosure of evidence tending to impeach the credibility of

 Government witnesses). As such, the Government states that it will comply

 with Brady, but notes that within due process limits, the timing of these

 disclosures is within its discretion. States v. Presser, 844 F.2d 1275, 1283

 (6th Cir. 1988). The Government further asserts that it will disclose all

 deals, promises, criminal history, and similar material for every witness. It

 continues that such impeaching information need only be disclosed in time

 for effective use at trial. See id. It is not yet known which defendants will

 proceed to trial. The Government, therefore, states that it is impossible to

 know, with any level of certainty, which witnesses it will call.

       The Court agrees with the Government, and further finds that it does

 not require additional incentive to comply with its obligations. As such, the

 Government shall be left to provide defendants with these disclosures in

 due course.




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       Sribna also argues that the Court should order the disclosure of the

 informants’ identities pursuant to Roviaro v. United States, 353 U.S. 53

 (1957). But Roviaro does not grant a defendant a broad right to pretrial

 identification of all Government informant witnesses. Instead, Roviaro

 recognizes an informer’s privilege, which permits the Government to

 “withhold from disclosure the identity of persons who furnish information of

 violation of laws to officers charged with enforcement of that law.” Id. at 59.

 The scope of this privilege is limited by its underlying purpose and the

 fundamental requirements of fairness. Id. at 60. The privilege must give

 way where “the disclosure of an informer’s identity, or of the contents of his

 communication, is relevant and helpful to the defense of an accused, or is

 essential to a fair determination of a cause.” Id. at 60-61. This requires a

 balancing of the “public interest in protecting the flow of information against

 the individual’s right to prepare his defense.” Id. at 62. “Whether a proper

 balance renders nondisclosure erroneous must depend on the particular

 circumstances of each case, taking into consideration the crime charged,

 the possible defenses, the possible significance of the informer’s testimony,

 and other relevant factors.” Id. The Sixth Circuit recognized a limitation on

 the right to disclosure in United States v. Sharp, 778 F.2d 1182 (6th Cir.

 1985). There, the defendant sought an informant’s identity to further an


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 entrapment defense. Id. at 1183. The court found that the trial court had

 abused its discretion in ordering disclosure based on defense counsel’s

 representations without conducting an in camera interview of the informant

 and without first requiring that the defendant adduce some evidence of

 entrapment. Id. at 1187. To support this ruling, the court quoted United

 States v. Gonzales, 606 F.2d 70 (5th Cir. 1979) for the proposition that

 “[m]ere conjecture or supposition about the possible relevancy of the

 informant’s testimony is insufficient to warrant disclosure.” Sharp, 778 F.2d

 at 1187 (citing Gonzales, 606 F.2d at 75). Here, Sribna purportedly seeks

 the disclosure of all informant identities in order to speak with the

 witnesses. She asserts that such discussion could lead to the discovery of

 exculpatory evidence. This is simply conjecture or supposition about the

 possible relevancy of the informant’s testimony.

       For the reasons stated above, defendant’s motion is DENIED.

       IT IS SO ORDERED.

 Dated: July 31, 2017

                                      s/George Caram Steeh
                                      GEORGE CARAM STEEH
                                      UNITED STATES DISTRICT JUDGE




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                                     CERTIFICATE OF SERVICE

                      Copies of this Order were served upon attorneys of record on
                           July 31, 2017, by electronic and/or ordinary mail.

                                         s/Marcia Beauchemin
                                             Deputy Clerk




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